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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA
                                                     THIRD-PARTY PETITION TO
 - v. -                                              ADJUDICATE PETITIONER’S
                                                     INTEREST IN FORFEITED
 YVETTE WANG                                         PROPERTY AND TO AMEND THE
 a/k/a “Yanping,”                                    PRELIMINARY ORDER OF
 a/k/a “Y,”                                          FORFEITURE

 Defendant.                                          - VERIFIED CLAIM OF HAMILTON
                                                     OPPORTUNITY FUND SPC WITH
                                                     REGARD TO FUNDS IN ACCOUNT
                                                     NUMBER 5090042770 SEIZED FROM
                                                     SILVERGATE BANK

                                                     S4 23 Cr. 118 (AT)




          Petitioner Hamilton Opportunity Fund SPC (“Hamilton” or the “Petitioner”) files this

Third-Party Petition to Adjudicate Petitioner’s Interest in Forfeited Property and to Amend the

Preliminary Order of Forfeiture, pursuant to 21 U.S.C. § 853(n) and Federal Rule of Criminal

Procedure 32.2(c) (the “Petition”). Petitioner seeks the return of funds in which Petitioner has a

legal right, title, and/or interest – more specifically, the funds in bank account number

5090042770 at Silvergate Bank (“Account 2770”) (“Petitioner’s Property”) and that the United

States Government (the “Government”) improperly seized as part of an order of forfeiture entered

into with Defendant Yvette Wang (“Defendant Wang”). However, any order of forfeiture

reaching the funds in Account 2770 was unlawful and improper as Defendant Wang has no legal




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right, title, or interest in either Account 2770 or Petitioner’s Property. The Forfeiture Order 1 is

therefore rendered invalid as to Petitioner’s Property because right, title, or interest in Petitioner’s

Property was vested in Petitioner rather than Defendant Wang, and was superior to any right,

title, or interest of Defendant Wang at the time of the commission of the acts which gave rise to

the Forfeiture Order (as defined below).

        The funds in this account were segregated as required by Cayman Islands law and

belonged solely to the legitimate investors in Class B shares of Hamilton’s segregated portfolio,

Hamilton M&A Fund SP (the “M&A Fund”). Such investors (collectively, the “Investors”) lost

access to their funds after the Government improperly seized Account 2770, and the M&A Fund

could not close on the Digital Bank investment (as more fully argued below). Many of the

individual Investors have already filed petitions with this Court for the return of the funds that

they invested in the M&A Fund (the “Petitioning Investors”). Hamilton supports those petitions

and agrees with the arguments stated therein. It files this Petition only out of an abundance of

caution, in the event the Court does not agree with the Petitioning Investors’ arguments regarding

a constructive trust and, instead, determines that the Investors’ money should still be considered

the property of Hamilton, as well as to assist any Investors who do not file petitions. In the event

that this Court determines that, for the purpose of these proceedings, the Investors’ money is the

property of Hamilton, Hamilton affirms that if this Petition is granted, it will return the Investors’

money in accordance with the provisions of the Subscription Agreement (as defined below). As




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  Reference is to the Consent Preliminary Order of Forfeiture as to Specific Property/Money
Judgment (the “Forfeiture Order”) that this Court entered on January 7, 2025, with consent from
Defendant Wang. ECF No. 488.



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such, this Court should amend the Forfeiture Order to remove Petitioner’s Property 2 and order

that the Government immediately return Petitioner’s Property to Petitioner so that Petitioner can

return the funds to their rightful owners: the Investors. In support of Petitioner’s claim, Petitioner

states as follows:

I.      PRELIMINARY STATEMENT

        It appears that Petitioner’s Property – meaning, the funds in Account 2770 – were purely

“collateral damage” in the Government’s seizure of assets prior to its prosecution of Defendant

Wang and Miles Guo (“Defendant Guo”). It has been over two and a half years since the seizure

of Account 2770, and in that time span, there has never been any explanation as to how funds in

Account 2770 are related to any of the offenses to which Defendant Wang pled guilty, a necessary

prerequisite to a valid forfeiture order under the law. There was never any showing that any

proceeds of any unlawful activity to which Defendant Wang pled guilty were ever deposited in

Account 2770, no showing that any proceeds of such activity were ever commingled with

Petitioner’s Property, and, indeed, no showing that Defendant Wang ever had anything to do with

Account 2770 or even knew of its existence.

        As will be shown below, Petitioner is the named owner on Account 2770 and thus has a

vested, legal, right, title and interest in the funds therein – Petitioner’s Property – and Petitioner’s

Property cannot be seized by the Government in this case. Neither Defendant Wang, nor the

Government who now stands in her shoes, has ever demonstrated that they have any interest

whatsoever in Petitioner’s Property. While Defendant Wang consented to the forfeiture of “all her


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  To be clear, the use of the term “Petitioner’s Property” is not meant to assert that Hamilton’s
claim to such funds is superior to that of the Investors; to the contrary, as stated above, Hamilton
endorses the legal theory of constructive trust set forth in the petitions of the Petitioning Investors.
Again, this petition is filed by Hamilton in the alternative to that of the Petitioning Investors, in
case the Court deems that Account 2770 remains the legal property of Hamilton, rather than the
Investors.

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right, title, and interest” in Account 2770 (and thus, Petitioner’s Property) in the Forfeiture Order

(ECF No. 488 at 2-3), Defendant Wang never had such “right, title, and interest” in Account 2770

or any funds therein. That is because Petitioner is the legal and sole owner of Account 2770.

Defendant Wang was not a signatory on Account 2770, never deposited money into Account 2770,

and had no control over Account 2770. There is also no evidence that Defendant Wang ever

directed anyone, directly or indirectly, to deposit any money into Account 2770. It is axiomatic

that Defendant Wang cannot forfeit property that she does not own, and in which she has no

interest. In fact, it appears that the Court never established that Petitioner’s Property is even subject

to forfeiture in the first instance, as required by Fed.R.Crim.P. 32.2(b)(1)(A).

        For all the foregoing reasons, and for the reasons demonstrated below, Petitioner

respectfully requests that this Court: (1) grant this Petition; (2) amend the Forfeiture Order to

exclude Petitioner’s Property; (3) order the immediate return of Petitioner’s Property to the

Investors or, in the alternative, to = Petitioner to return to the Investors; (4) order that Petitioner is

entitled to recover Petitioner’s attorneys’ fees and costs incurred in connection with this Petition

and grant Petitioner leave to submit an application for such attorneys’ fees and costs; and (5) grant

such and other relief that is necessary and just.

II.     BACKGROUND FACTS

        A. Petitioner’s Property

        1.      Petitioner is a Cayman Islands Segregated Portfolio Company operating as a mutual

fund and registered with the Cayman Islands Monetary Authority under Section 4(3) of the Mutual

Funds Act (Revised) of the Cayman Islands. More specifically, the Fund is a fund specializing in

equity investments selected by its investment manager (the “Investment Manager”) with a view to

long-term capital gains.

        2.      Sometime in 2021, the Investment Manager identified an opportunity to invest in a


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bank (the “Digital Bank”). In connection with this investment, Petitioner sought to raise capital by

issuing two classes of shares: Class A shares and Class B shares. This Petition specifically concerns

the Class B shares for which the Investors wired money into Account 2770. To be sure, Account

2770 contains only the funds wired by Investors, and does not contain any funds from any other

sources.

       3.      Accordingly, in furtherance of this investment opportunity, on or about January 20,

2022, Petitioner provided a group of investors a confidential Offering Memorandum (the “Offering

Memorandum”). A true and correct copy of the Offering Memorandum is attached hereto as

Exhibit A. The Offering Memorandum described the investment opportunity and offered investors

an opportunity to acquire the Class A and Class B Shares attributed to a segregated portfolio of

Hamilton Opportunity Fund – the M&A Fund.

       4.      Defendant Wang was not a director or member of, and otherwise lacked any

corporate or equity interest in, the M&A Fund or Petitioner. The evidentiary record is devoid of

any evidence to the contrary.

       5.      Defendant Wang did not make any investments in the M&A Fund; again, the

evidentiary record is devoid of any evidence to the contrary.

       6.      Interested investors in the M&A Fund’s Class B shares submitted their applications

(the “Subscription Agreement”) to Petitioner. Upon completing a Know-Your-Customer (“KYC”)

and Anti-Money-Laundering (“AML”) process done by NAV Fund Services, the largest

independent fund administrator in the world, and upon approval from Petitioner, the Investors then

wired money into Account 2770 pursuant to the terms of the Subscription Agreement. Id.

       7.      Pursuant to laws of the Cayman Islands, funds of each class of each individual

segregated portfolio of Petitioner, including the M&A Fund, are kept segregated, separate, and




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separately identifiable from, those of any other segregated portfolios of the Petitioner and any

general assets of the Petitioner.

       8.       There was a total of 324 Investors in the Class B Shares of the M&A Fund. Each

Investor’s individual investment is specific only to the investment in the Digital Bank, and each

investment amount is fully identifiable and properly recorded by the independent fund

administrator after stringent KYC and AML processes.

       B. Seizure of Account 2770

       9.       On September 18, 2022, the Government seized the entire balance of the funds in

Account 2770.

       10.      As a result of the seizure, the Investors’ funds did not go through to acquire Digital

Bank on the transaction’s closing date as had been promised. Accordingly, the Investors not only

lost access to the funds they wired to Account 2770 for the investment in Digital Bank, but also

did not get the investment in Digital Bank for which they bargained.

       11.      To date, there are no documents available publicly as to what probable cause the

Government had to seize the funds in Account 2770.

       C. The Criminal Case of Defendant Wang and Defendant Guo and the Forfeiture
          Order

       12.      On March 6, 2023, the Government filed an indictment against Defendant Wang,

Defendant Guo, and a third defendant, William Je, who has never been arraigned. ECF No. 2.

       13.      On May 3, 2024, the Government filed a superseding information (the

“Superseding Information”) against Defendant Wang. ECF No. 325. The Superseding Information

charged Defendant Wang with one count of Conspiracy to Commit Wire Fraud (Count I)

(Superseding Information at 1-2) and one count of Conspiracy to Commit Money Laundering

(Count II) (Superseding Information at 2-4). The Superseding Information also contained a



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Forfeiture Allegation (the “Forfeiture Allegation”). Superseding Information at 4.

       14.     On the same day, May 3, 2024, Defendant Wang pled guilty to Count I and Count

II as charged in the Superseding Information.

       15.     Also on May 3, 2024, this Court entered a Consent Preliminary Order of Forfeiture

as to Specific Property/Money Judgment (the “Original Forfeiture Order”). ECF No. 329.

       16.     In the Original Forfeiture Order, Defendant Wang consented to forfeit, “all her

right, title, and interest in” certain assets, including Account 2770, because such property

purportedly “constitute[ed] proceeds of the offenses charged in Count One that the Defendant

personally obtained and/or property involved in offense charged in Count Two of the

[Superseding] Information.” Original Forfeiture Order at 2-6 (emphasis added).

       17.     Defendant Guo did not plead guilty to any of the offenses charged against him.

Accordingly, a jury trial was held between May 22, 2024 and July 16, 2024 (the “Guo Trial”). On

July 16, 2024, the jury found Defendant Guo guilty of racketeering conspiracy, conspiracy to

commit wire fraud, conspiracy to commit money laundering, conspiracy to commit securities

fraud, securities fraud, wire fraud, and money laundering. ECF No. 395. As of the date of this

Petition, Defendant Guo has not yet been sentenced.

       18.     On January 6, 2025, Defendant Wang was sentenced.

       19.     On January 7, 2025, this Court entered the Forfeiture Order. ECF No. 488. As it

pertains to Petitioner, the Forfeiture Order is substantially similar to the Original Forfeiture Order

in all material respects. In the Forfeiture Order, Defendant Wang consented to forfeit, “all her

right, title, and interest in” certain assets, including Account 2770, because such property

“constitute[ed] proceeds of the offenses charged in Count One that the Defendant personally

obtained and/or property involved in offense charged in Count Two of the [Superseding]




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Information.” Forfeiture Order at 2-11 (emphasis added).

        20.      Petitioner’s Property is described in both the Original Forfeiture Order and the

Forfeiture Order as follows:

              $89,992,861.75 in United States currency formerly on deposit in account
              number 5090042770 at Silvergate Bank, held in the name of "Hamilton
              Opportunity Fund SPC" and seized by the Government on or about September
              18, 2022 (23-FBl-000074).

Original Forfeiture Order at 3; Forfeiture Order at 3.

III.    ARGUMENT

        21.      In an ancillary criminal forfeiture proceeding pursuant to 21 U.S.C. § 853(n) and

Federal Rule of Criminal Procedure 32.2(c)(1), this Court must determine, by a preponderance of

the evidence, whether a petitioner has a legal right, title, or interest in the property to be forfeited,

and whether such right, title, or interest renders the order of forfeiture invalid, in whole or in part,

because such interest was vested in the petitioner rather than the defendant, or was superior to any

right, title, or interest of the defendant at the time of the commission of the acts which gave rise to

the forfeiture of the property. See 21 U.S.C. § 853(n)(6)(A).

        22.      Here, Petitioner has a legal right, title, or interest in Petitioner’s Property pursuant

to 21 U.S.C. §853(n)(6)(A) by virtue of being the named account owner of Account 2770 and by

virtue of having full dominion and control over the funds therein. Moreover, Petitioner’s interest

in Petitioner’s Property was both vested in Petitioner and was superior to any right Defendant

Wang had in Petitioner’s Property because Defendant Wang had no legal right, title or, interest in

either Petitioner’s Property or Account 2770 generally. In other words, Defendant Wang could not

forfeit her interest in Account 2770 because she had no interest that was properly subject to

criminal forfeiture. Accordingly, the Forfeiture Order should be modified to remove Petitioner’s

Property, and Petitioner’s Property should be returned to either the Investors or to the Petitioner,



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for the benefit of the Investors.

        A. The Government Failed to Demonstrate that the Funds in Account 2770,
           Including Petitioner’s Property, Were Properly Subject to Forfeiture in the First
           Instance, Making the Forfeiture Order Improper as to Such Funds

        23.     The Government has no legal cause to retain Petitioner’s Property because it has

failed to present evidence demonstrating that Petitioner’s Property is actually forfeitable property

as required by Fed.R.Crim.P. 32.2(b)(1)(A).

        24.     “When the government seeks to obtain an order of forfeiture, ‘Federal Rule of

Criminal Procedure 32.2(b)(1) ... requires the sentencing court to determine what property is

subject to forfeiture under the applicable statute.’” United States v. Watts, 786 F.3d 152, 172 (2d

Cir. 2015) (citing United States v. Capoccia, 503 F.3d 103, 109 (2d Cir.2007)). Pursuant to

Fed.R.Crim.P. 32.2, “if the government seeks forfeiture of specific property, the court must

determine whether the government has established the requisite nexus between the property and

the offense.” Fed.R.Crim.P. 32.2(b)(1)(A) (emphasis added); U.S. v. Watts, 786 F.3d at 172. “At

various points in the proceedings, the government bears the burden of proving this legal

conclusion to varying degrees of certainty: as a matter of probable cause at a post-indictment

hearing. . .or by a preponderance of the evidence at a bench trial or before a jury.” Id. (emphasis

added) (internal citations omitted). “Only if the government meets the relevant legal threshold,

however, may the property in question be considered ‘subject to forfeiture’ in any legal sense.

Prior to that, while the government has simply announced its intent to seek forfeiture through the

indictment, the property is seen merely as ‘potentially forfeitable’ . . . or ‘potentially subject to

forfeiture.’” Id. (internal citations omitted).

        25.     This means that before the court even reaches the question of whether the petitioner

is entitled to the return of the property under §853(n), it is necessary to determine if the property

in dispute is actually forfeitable in the first instance. If not, the government had no statutory


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authority to seize the property. If the property was improperly seized, the government must return

the accounts seized regardless of whether the claimant can meet the criteria set forth in §853(n).

See e.g. United States v. Delco Wire & Cable Co., 772 F. Supp. 1511, 1518 (E.D.PA, 1991).

        26.    A full and complete Fed. R. Crim. P. 32.2(b)(1)(A) inquiry is critical to the fair

administration of justice. The entire forfeiture system rests upon the supposition that a court has

conducted an inquiry and determined that the property is subject to forfeiture. In enacting ancillary

proceeding statutes, Congress chose to place the burden of proof on the third-party during an

ancillary proceeding, since “the United States will have already proven its forfeiture allegations in

the criminal case beyond a reasonable doubt.” S. REP. 98-225, 209, 1984 U.S.C.C.A.N. 3182,

3392.

        27.    In this matter, there has never been a determination that there exists a nexus

between Account 2770 and any of the offenses to which Defendant Wang pled guilty, and, as a

result, Petitioner is forced to file this Petition. Based on all the information contained in the

publicly available documents in both Defendant Wang’s and Defendant Guo’s criminal case, the

Government cannot prevail with respect to Account 2770.

        28.    Here, in the Superseding Information, the Government included a Forfeiture

Allegation as to both Counts I and Count II and sought forfeiture of specific property. Superseding

Information at 4. There is no evidence in the record that the Government even attempted to show,

let alone that it met its burden to show, a nexus between Account 2770, and the offenses to which

Defendant Wang pled guilty.

        29.    As to Count I, the Forfeiture Allegation states that, “[a]s a result of committing the

wire fraud offense alleged in Count One of this Superseding Information, YVETTE WANG, a/k/a

“Yanping” a/k/a “Y,” the defendant, shall forfeit to the United States pursuant to Title 18, United




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States Code, Section[] 981(a)(1)(C) 3. . .and Title 28, United States Code, Section 2461(c), any and

all property, real and personal, that constitutes or is derived from proceeds traceable to the

commission of said offense.” Superseding Information at 4. The Government must prove the

elements of forfeiture under 18 U.S.C. § 981(a)(1)(C) by a preponderance of the evidence. 18

U.S.C. § 983(c)(1). Moreover, “if the Government’s theory of forfeiture is that the property was

used to commit or facilitate the commission of a criminal offense, or was involved in the

commission of a criminal offense, the Government shall establish that there was a substantial

connection between the property and the offense.” 18 U.S.C. § 983(c)(3).

       30.     The record is devoid of any allegations regarding how the funds in Account 2770

are, or were derived from, proceeds traceable to Defendant Wang’s conspiracy to commit wire

fraud. The Superseding Information alleges that “[f]rom at least in or about 2018 until at least on

or about March 15, 2023, coconspirators made false representations to investors that they would

receive stock in exchange for their investments in GTV, the Himalaya Farm Alliance organization,

and GClubs, and that they would receive cryptocurrency in exchange for their investments in the

Himalaya Exchange [(the “Fraud Scheme”)]. Through the [Fraud Scheme], YVETTE WANG,

a/k/a “Yanping,” a/k/a “Y,” the defendant, and her coconspirators, including Miles Guo, induced

investors to invest more than $1 billion into entities Guo controlled.” Superseding Information at

2. There are no allegations in the Superseding Information regarding Defendant Wang depositing

any proceeds from the Fraud Scheme into Account 2770. Similarly, there are no allegations in the

Superseding Information that as a result of the Fraud Scheme, any investors deposited money into



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  18 U.S.C. § 981(a)(1)(C) provides that “[a]ny property, real or personal, [is subject to forfeiture]
which constitutes or is derived from proceeds traceable to a violation of” various specified
offenses, including violations of 18 U.S.C. § 1343, wire fraud, as charged against Defendant Wang
in Count I.



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Account 2770. Nor can there be any such allegations, as the only deposits into Account 2770 were

from investors who were investing in the Digital Bank – an investment that is not implicated in

any way by the “Fraud Scheme” described in the Superseding Information. To be sure, Petitioner

affirms that Petitioner was never a victim of any conduct by Defendant Wang alleged in the

Superseding Information and does not believe that any of Petitioner’s Property was ever used in

any unlawful activity.

       31.     Finally, there was no relevant evidence during Defendant Guo’s trial about Account

2770. There was testimony during Defendant Guo’s trial from Mr. James Robert Collins, the CEO

of Mercantile Bank, that - Petitioner understands - alluded to Account 2770. However, this

testimony had nothing to do with Defendant Wang or these forfeiture proceedings. If anything,

this testimony underscored the legitimacy of the Digital Bank investment and, therefore, assists

the Petitioner’s argument herein. Mr. Collins testified that the Investors’ funds were wired to

Mercantile Bank for the acquisition of the Digital Bank on the closing date of the transaction;

however, they never made it to Mercantile Bank because the Government seized Account 2770.

See Guo Trial, Jun. 17, 2024, 2796:16-2798:5. The legitimacy of the acquisition of the Digital

Bank has not been challenged, and there was no other relevant evidence regarding Account 2770;

regarding whether any of the proceeds of the Fraud Scheme were ever deposited into Account

2770; or, for that matter, regarding whether Defendant Wang ever deposited any money into

Account 2770 (she did not). Simply put, there is nothing in the record that would indicate there is

a nexus between Account 2770 and Defendant Wang’s wire fraud charge, let alone sufficient

evidence to determine that the Government met its burden of showing, and the Court properly

adjudicated, that the appropriate nexus exists for forfeiture of Account 2770 to be proper.

       32.     As to Count II, the Forfeiture Allegation states that, “[a]s a result of committing the




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money laundering offense alleged in Count Two of this Information, YVETTE WANG, a/k/a

“Yanping” a/k/a “Y,” the defendant, shall forfeit to the United States pursuant to Title 18, United

States Code, Section 982(a)(1) 4, any and all property, real and personal, involved in said offense,

or any property traceable to such property, including but not limited to a sum of money in United

States currency representing the amount of property involved in said offense.” Superseding

Information at 4. As to Count II, The Government “must prove the elements of forfeiture under 18

U.S.C. § 982(a)(1) by a preponderance of the evidence.” U.S. v. Beltramea, 785 F.3d 287, 290 (8th

Cir. 2015).

       33.     The Superseding Information alleges that Defendant Wang committed conspiracy

to launder money because Defendant Wang “knowing that the property involved in certain

financial transactions represented the proceeds of some form of unlawful activity, would and did

conduct and attempt to conduct such financial transactions. . .and which in fact involved the

proceeds of specified unlawful activity, to wit, proceeds of the wire fraud scheme alleged in Count

One of this Information.” Superseding Information at 3.

       34.     It is unclear how Account 2770 could be forfeited as a result of the money

laundering charge in Count II. From the allegations, the charge of money laundering arises from

Defendant Wang engaging in financial transactions with the “proceeds of the wire fraud scheme

alleged in Count One.” Superseding Information at 3. As argued above, there is no evidence that

funds in Account 2770 had any relation to the Fraud Scheme alleged in Count I (see ¶¶ 29-31,

above) – there is no evidence that such funds “constitute[d] or [were] derived from proceeds




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  18 U.S.C. § 982(a)(1) provides that “[t]he court, imposing sentence on a person convicted of an
offense in violation of section 1956 [the money-laundering statute] of this title . . . shall order that
the person forfeit to the United States any property, real or personal, involved in such offense, or
any property traceable to such property.” 18 U.S.C. § 982(a)(1) (emphasis added).

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traceable to the commission of” wire fraud. See e.g. 18 U.S.C. § 981(a)(1)(C). Since funds in

Account 2770 were not Fraud Scheme proceeds, nor were they derived from Fraud Scheme

proceeds, such funds could not serve as the basis for the money laundering charge in Count II and

cannot be forfeited as part of Defendant Wang’s conviction for Count II.

       35.     The overt acts that the Government alleges to support the money laundering charge

further fail to show how the funds in Account 2770 can be subject to forfeiture. In the Superseding

Information, the Government sets forth two acts evidencing money laundering. 5 Superseding

Information at 3.

       36.     First, per the Superseding Information, on May 20, 2020, Defendant Wang opened

a bank account in the name of GTV, which, notably, Account 2770 was not. Superseding

Information at 3. On June 2, 2020, Defendant Wang transferred approximately $200 million to

that account. Id. The funds transferred into the GTV account were from a JP Morgan Chase Bank

account held by Saraca Media, Group, Inc. (“Saraca”) (Guo Trial, 05/31/2024, 953:25-954:4; Guo

Trial, 06/26/2024, 4359:1-14), not from Account 2770. There was never any testimony that any

money from Account 2770 ever went into the Saraca JP Morgan Chase Bank account to then be

transferred to the GTV account cited in the Superseding Information. Moreover, Account 2770 did

not even exist in 2020.

       37.     The second act the Government alleges is that “on or about June 5, 2020,”

Defendant Wang “authorized a wire transfer of $100 million from GTV’s parent company, Saraca

Media, Group, Inc., to a high-risk hedge fund, for the benefit of Saraca and its ultimate beneficial

owner, Guo’s son.” Superseding Information at 3-4. First, this plainly alleges that the money was



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  Although the Government states that these two overt acts were “among others” that Defendant
Wang committed in furtherance of the alleged conspiracy to launder money (Superseding
Information at 3), these other acts have never been indentified.

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transferred from a Saraca account, which Account 2770 was demonstrably not. Also, again, there

was never any testimony that any money from Account 2770 ever went into a Saraca account.

Moreover, once again, Account 2770 did not even exist in 2020.

       38.     As seen from the above argument, there are no allegations or relevant trial

testimony regarding Account 2770 whatsoever, outside of Mr. Collins’ testimony which, to the

extent it is relevant at all, supports Petitioner’s claim. The only actual reference in the record to

Account 2770 as it relates to the Government’s seizure is Defendant Wang’s purported consent to

forfeit it. However, “a defendant’s consent to forfeiture [does not] abrogate the requirement that a

nexus exist between the property sought for forfeiture and the conviction of offense.” Beltramea,

785 F.3d at 291. As the Eighth Circuit stressed, “[t]he district court had an independent duty to

ensure that the required nexus exists.” Id. (emphasis added).

       39.     Here, there are no factual allegations in the Superseding Information, in the

Original Forfeiture Order or the Forfeiture Order as to even an alleged nexus between Account

2770 and the offenses to which Defendant Wang pled guilty.

       B. Petitioner Has an Interest in Petitioner’s Property Because Hamilton is the Legal
          Account Owner

       40.     Even putting aside the Government’s failure to properly demonstrate that the funds

in Account 2770 were part of any activity alleged in the Superseding Information, Petitioner’s

Property should be returned to Petitioner because Petitioner has a greater interest in it than does

Defendant Wang, or, now, the Government.

       41.     Here, the Petitioner has a legal interest and right in the funds in Account 2770 by

virtue of being the named owner of Account 2770 and having complete dominion and control over

the funds in Account 2770. Thus, Petitioner has standing to challenge the Forfeiture Order.




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        C. Petitioner Has a Superior Interest in the Petitioner’s Property

        42.     Petitioner’s interest in Petitioner’s Property is absolutely superior to any interest

that the Government or Defendant Wang may have in Petitioner’s Property.

        43.     21 U.S.C. § 853(n) is clear that, in addition to Petitioner’s interest in the forfeited

property, that Petitioner must demonstrate, by a preponderance of the evidence, that Petitioner’s

interest “renders the order of forfeiture invalid in whole or in part because the right, title, or interest

was vested in the petitioner rather than the defendant or was superior to any right, title, or interest

of the defendant at the time of the commission of the acts which give rise to the forfeiture of the

property under this section.” 21 U.S.C. § 853(n)(6)(A) (emphasis added).

        44.     Here, as set forth above, Defendant Wang never had any interest in Petitioner’s

Property or Account 2770; indeed, the record is entirely silent as to what the relationship is

between Defendant Wang, the Fraud Scheme, and Account 2770.

        45.     It is axiomatic that neither the Government nor Defendant Wang can argue that they

have a superior interest in a property in which they never had an interest. Likewise, Defendant

Wang cannot forfeit her interest in a property in which she had no interest.

        D. Petitioner is Entitled to Costs and Attorneys’ Fees

        46.     The Petitioner has been required to retain legal counsel and has incurred costs to

file this petition asserting Petitioner’s right to Petitioner’s Property and to challenge the forfeiture

of Petitioner’s Property. Upon prevailing in this proceeding, Petitioner reserves all rights to recover

attorneys’ fees and costs incurred in connection with this Petition and may recover Petitioner’s

costs and reasonable attorney’s fees pursuant to the Equal Access to Justice Act (“EAJA”), 28

U.S.C. § 2412. Federal courts have consistently held that § 853(n) proceedings are civil for the

purposes of allowing a successful claimant to collect attorney’s fees under the EAJA. See United

States v. Cox, 575 F.3d 352, 355 (4th Cir. 2009); United States v. Douglas, 55 F.3d 584, 588 (11th


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Cir. 1995); U.S. v. Bailey, 2015 WL 1893610 at *20 (W.D.N.C. Apr. 27, 2015).

IV.    CONCLUSION

       47.     For the reasons stated above, the Petitioner has an interest in Petitioner’s Property,

which renders the Forfeiture Order invalid as to such property. See e.g. 21 U.S.C. § 853(n)(6)(A).

Defendant Wang does not have any right, title, or interest in Petitioner’s Property, and never did.

Petitioner has proven, and can prove at any necessary hearing, by preponderance of evidence that

the Forfeiture Order needs to be amended to exclude Petitioner’s Property.

       48.     Therefore, Petitioner respectfully requests that this Court: (1) grant this Petition;

(2) amend the Forfeiture Order to exclude Petitioner’s Property; (3) order the immediate return of

Petitioner’s Property to the M&A Fund Investors or, in the alternative, to the Petitioner to return

to the M&A Fund Investors; (4) order that Petitioner is entitled to recover Petitioner’s attorneys’

fees and costs incurred in connection with this Petition and grant Petitioner leave to submit an

application for such attorneys’ fees and costs; and (5) grant other relief that is necessary and just.

Dated: April 7, 2025                                  Respectfully submitted,

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